     Case 6:07-cr-00031-WTM-GRS Document 562 Filed 03/20/09 Page 1 of 1

                                                                   FILED
                                                              U.S. wmcv COURT
                IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN
                        - -       DISTRICT OF GEORGIA
                            STATESBORO DIVISION               20 MAR 20 P11 2:51,

UNITED STATES OF AMERICA           )                         CLEfc2&(IT
                                   )                             SO, USTOFGA.
V.                                 )           Case No. CR607-31
                                   )
JUSTIN WAYNE PRINCE, et al.,

                  Defendants.


                                   ORDER

      Travers W. Chance, counsel of record for defendant, Justin
Wayne Prince, in the above case, has moved for leave of absence.
The Court is mindful that personal and professional obligations
require the absence of counsel on occasion. The Court, however,
cannot accommodate its schedule to the thousands of attorneys who
practice within the Southern District of Georgia.
       Counsel may be absent at the times requested. However,
nothing shall prevent the case from going forward; all discovery
shall proceed, status conferences, pretrial conferences, and trial
shall not be interrupted or delayed.             It is the affirmative
obligation of counsel to provide a fitting substitute.

       50 ORDERED, this ______ day of March, 2009.




                                   WILLIAM T. MOORE, JR., CHiEF JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
